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 1                                                             HONORABLE JOHN C. COUGHENOUR

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 7                                  UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
     KELLIE BURLINGHAM,                                     No. 2:20-cv-00586-JCC
 9
                                Plaintiff,                  AMENDED COMPLAINT FOR
10                                                          DAMAGES
                         v.
11
     MICHAEL BROWN, ASHLEY ELLIOTT,
12   MATTHEW GARNER, DANIEL PERRINE,
     AARON SCOTT, and CHRISTOPHER
13   WYCHE, individuals, and CITY OF
     BELLEVUE, a municipal corporation
14
                                Defendants.
15

16
                                              I.   INTRODUCTION
17
                 1.1     At the time of the events in this case, Bellevue Police Department policy allowed
18
     for officers to seize anyone who, in their view, presented a “danger to self” for involuntarily
19
     treatment, even when that person was in a private home. Under that policy, Officers could
20
     involuntarily seize such a person without any investigation or evaluation of the facts, without
21
     reasonable cause, and without consultation of a mental health professional as long as the incident
22
     required, in their view, “immediate attention.” The policy made no distinction regarding the
23
     location of the seizure, authorizing officers to enter a person’s home without a warrant to make
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     the seizure. This broad and inexact standard for involuntary detention authorizes unreasonable
25
     seizures and government intrusion into a person’s home in violation of the Fourth Amendment to
26
     the United States Constitution.
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     AMENDED COMPLAINT FOR DAMAGES - 1                                          MACDONALD HOAGUE & BAYLESS
     No. 2:20-cv-00586-JCC                                                        705 Second Avenue, Suite 1500
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 1               1.2     On October 25, 2017, Bellevue Police Officers Matthew Garner and Christopher

 2   Wyche responded to a 9-1-1 call from a woman reporting that an ex-boyfriend Quentin had sent

 3   her a text with statements about wanting to commit suicide. They attempted to contact Quentin at

 4   his home in Bellevue, Washington, where he lived with his mother Plaintiff Kellie Burlingham

 5   and her husband, Marc Ramsey. Mr. Ramsey opened the door, and Officer Garner asked to

 6   speak with Quentin. Mr. Ramsey responded that Quentin was at work in Seattle and his mother

 7   was en route to pick him up. Officer Garner then called Quentin, who is on the autism spectrum

 8   and in his early 20s, directly by cellphone. Quentin told Officer Garner that he just had a bad

 9   day, that he did not wish to commit suicide, and that he did not need police assistance.

10               1.3     Despite learning that Quentin did not want to kill himself and was headed home

11   safely with his mother, Officers Garner and Wyche, accompanied by Officer Ashley Elliott

12   returned to Ms. Burlingham’s home just before midnight and spoke with Quentin at the front

13   door. Quentin repeated that he just had a bad day but was now fine and told the officers that he

14   did not wish to be examined at the hospital. The officers persisted, telling Quentin they had to

15   take him to the hospital. Quentin told them that he needed to speak with his mother and started to

16   close the door. Officer Garner stuck his foot into the door threshold and entered the home

17   followed by the other officers. As he entered the home, he physically grabbed Quentin and

18   followed him into the home where he pushed Quentin into a large chair and tried to restrain him.

19               1.4     Quentin’s screaming and the commotion awoke his mother and stepfather. They

20   emerged from their bedroom and repeatedly told the officers to stop hurting Quentin, that he was

21   on the autism spectrum, that they were making matter worse, and that they should leave. Kellie

22   and Marc went to retrieve their cellphones from the bedroom and announced they were going to

23   record the officers. Officers prevented Kellie and Marc from using their cellphones by tackling

24   Kellie to the floor and handcuffing her, and by detaining and handcuffing Marc in the bedroom.

25   The officers arrested Kellie and charged her with “obstruction,” for which she was subsequently

26   prosecuted. Several months later, the prosecutor dismissed the charges.

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 1               1.5     Quentin was ultimately handcuffed, taken into “protective custody” and

 2   involuntarily transported to Overlake Hospital to undergo a mental health evaluation. Quentin

 3   was examined by mental health professionals and released immediately with no finding that he

 4   was a danger to himself or others.

 5               1.6     Plaintiff Kellie Burlingham brings this action seeking damages caused by the

 6   Officers’ violations of her civil and constitutional rights. She also brings a claim against the City

 7   of Bellevue because its policies caused the violation of her Fourth Amendment rights.

 8                                                II.    PARTIES

 9               2.1     Kellie Burlingham is a citizen of the State of Washington and a resident of King

10   County and Bellevue, Washington.

11               2.2     Defendant Officer Michael Brown was, at all material times, a peace officer

12   employed by the Bellevue Police Department, acting under color of law.

13               2.3     Defendant Officer Ashley Elliott was, at all material times, a peace officer

14   employed by the Bellevue Police Department, acting under color of law.

15               2.4     Defendant Officer Matthew Garner was, at all material times, a peace officer

16   employed by the Bellevue Police Department, acting under color of law.

17               2.5     Defendant Officer Daniel Perrine was, at all material times, a peace officer

18   employed by the Bellevue Police Department, acting under color of law.

19               2.6     Defendant Officer Aaron Scott was, at all material times, a peace officer

20   employed by the Bellevue Police Department, acting under color of law.

21               2.7     Defendant Officer Christopher Wyche was, at all material times, a peace officer

22   employed by the Bellevue Police Department, acting under color of law.

23               2.8     Defendant City of Bellevue is a municipal corporation formed under the laws of

24   the State of Washington.

25                                    III.    JURISDICTION AND VENUE

26               3.1     This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343, and 1367.

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 1               3.2     Venue is appropriate in the Western District of Washington pursuant to 28 U.S.C.

 2   § 1391 because at least some of the Defendants reside in this judicial district and because the

 3   events and omissions giving rise to the claims alleged here occurred within the Western District

 4   of Washington.

 5                                     IV.     FACTUAL ALLEGATIONS

 6               4.1     At the time of the events in this case, Bellevue Police Department policy allowed

 7   for officers to seize anyone who, in an officer’s view, presented a “danger to self” for

 8   involuntarily treatment, even when that person was in a private home. Under that policy, officers

 9   could involuntarily detain an individual without consultation of a mental health professional as

10   long as the incident required “immediate attention.” The policy made no distinction regarding the

11   location of the seizure, authorizing officers to enter a person’s home without a warrant to make

12   the seizure. The broad and inexact standard for involuntary detention authorizes unreasonable

13   seizures and government intrusion into a person’s home.

14               4.2     On October 25, 2017, at approximately 9:30 pm, Claire Parsons called 9-1-1 to

15   report that several minutes before her former boyfriend, Quentin Burlingham-Boutet

16   (“Quentin”), had texted her that he wanted to kill himself. Ms. Parsons provided the 911

17   dispatcher Quentin’s home address in Bellevue, a home where he lived with his mother and

18   stepfather, and his cellphone number.

19               4.3     Ms. Parsons read from the text aloud on the call: “I’m going to kill myself, and

20   that is final. I don’t deserve to live. I’m doing you and everyone a favor just by dying. I don’t

21   deserve to live.” When the dispatcher asked if there was any mention of how Quentin was going

22   to kill himself, Ms. Parsons replied: “No.”

23               4.4     When the 9-1-1 dispatcher inquired whether Quentin had access to weapons in his

24   home, Ms. Parsons replied: “I don’t know.” Ms. Parsons went on to say: “I think he has a gun.

25   But again I don’t know. He’s mentioned it in passing, but not as a suicidal thing.” Ms. Parsons

26   told the dispatcher that Quentin had not described any plan to kill himself.

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 1               4.5     Ms. Parsons said she wasn’t sure if Quentin was at home. She also informed the

 2   dispatcher that Quentin did not live alone, but lived at the address she provided with his mother

 3   and stepfather. When asked, Ms. Parsons gave the dispatcher Quentin’s phone number and her

 4   own phone number.

 5               4.6     When asked, Ms. Parsons said Quentin had not made suicidal threats before.

 6               4.7     Ms. Parsons informed dispatch that she had texted Quentin back: “Don’t kill

 7   yourself. I’ll call the police.” Ms. Parsons also conveyed to dispatch that she hadn’t spoken to

 8   Quentin for about a month, but had found out she had a sexually transmitted disease (STD) she

 9   believed she had contracted from Quentin. She also told dispatch that she had told Quentin she

10   now had a new boyfriend.

11               4.8     Between 9:31pm and 9:35pm, the 9-1-1 dispatcher relayed to the Bellevue Police

12   Department the following information: Quentin’s text to Ms. Parsons: “I’m going to kill myself

13   and that is final, I dont deserve to live”; that he had “no means”; that he was “now not

14   responding”; that “poss has gun in home but unk for sure and no mention of it today”; that

15   Quentin was 22 years old; and that he lived at his Bellevue home with his mother and stepfather;

16   among other information reported by Ms. Parsons.

17               4.9     At approximately 9:40pm, Bellevue Police Officers Matthew Garner and

18   Christopher Wyche made contact with Quentin’s stepfather, Marc Ramsey, at the family home.

19   Officer Garner asked to speak with Quentin, but did not identify himself and provided no details

20   about why he wanted to speak with Quentin. Marc responded that Quentin was at work in

21   Seattle and his mother was en route to pick him up. Before the officers left, Marc asked for a

22   business card so that Quentin could follow up, and asked “What was this about?” Officer Garner

23   replied “We want to talk to Quentin about suicide,” then walked away.

24               4.10    The officers did not elaborate on the basis for their belief that Quentin was

25   suicidal, ask Marc about any guns in the home, or mention that they needed to detain Quentin for

26   a mental health evaluation.

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 1               4.11    After Officers Garner and Wyche left, Marc called Kellie to tell her that police

 2   officers were looking for Quentin to talk to him about suicide. Kellie told Marc that Quentin had

 3   an anxiety event earlier that evening, but that he had calmed down and was recovering.

 4               4.12    At 9:50pm , Officer Garner advised dispatch that he had spoken with the

 5   stepfather and that the mother was picking up Quentin from work in Seattle. Officer Garner also

 6   reported to dispatch that “step dad did not appear to be concerned.” In his later report, Officer

 7   Garner noted: “I provided [Marc] Ramsey with my business card and phone number to call me

 8   when [Quentin] Burlingham-Boutet returned home so I could speak with him about the suicidal

 9   statements.”

10               4.13    After speaking with Marc, Officers Garner and Wyche waited for a call. When he

11   did not receive one, Officer Garner called Quentin on his cellphone shortly after 10 pm. Quentin

12   picked up the call while driving home with his mother. In the case report, Officer Garner wrote

13   that Quentin: “stated that he was with his mother and that he was fine,” and that “he did not need

14   the police and would be okay.” While on the phone with Quentin, Officer Garner did not ask

15   whether Quentin had access to a firearm.

16               4.14    At 10:37pm, dispatch reported that Officer Garner “talked with subj who said he

17   was with his mother/said he was upset about the news of the STD and new boyfriend/said he is

18   fine now and better/will wait for call from him when he returns home.”

19               4.15    Despite learning from Quentin that he did not intend to kill himself and that he

20   was now with his parents at home, Officers Garner, Wyche, and Ashley Elliott went back to

21   Plaintiff’s home at approximately 11:57pm.

22               4.16    Quentin was at home, dressed in his pajamas, and was talking to his current

23   girlfriend on his cell phone when the officers knocked on the door. Quentin answered the door,

24   identified himself, and reiterated that he was okay. He again said he had had a bad day but did

25   not mean what he sent in the text message. The officers said they needed to have him evaluated

26   at the hospital. The officers did not ask whether Quentin had a firearm in the house.

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 1               4.17    According to Officer Garner’s case report, he “advised [Quentin] Burlingham-

 2   Boutet of his options to go to the hospital but that he needed to speak with a medical professional

 3   and that I could not leave with the knowledge that he may harm or kill himself.” According to

 4   Officer Elliott, Quentin said (again) that he just had a bad day, that he had talked to his mother

 5   about the situation, and smoked some marijuana to help with his anxiety. When asked if he

 6   would voluntarily go to the hospital, Quentin said “no thank you.” When the officers persisted

 7   and said he was going to have to go to the hospital, Quentin said he needed to speak with his

 8   mother. He said, “I’ll be right back,” and attempted to close the front door.

 9               4.18    Officer Garner stuck his foot in the door threshold to prevent the door from

10   closing. Then Officer Garner, followed by Officers Wyche and Elliott, entered Plaintiff’s home

11   by pushing their way in without consent and without a warrant.

12               4.19    In the case report, Officer Garner described his justification for entering the home

13   and seizing Quentin:

14               Burlingham-Boutet appeared calm and coherent during my conversation with
                 him. I advised him of the reason for the contact and that the statements he made
15               had people concerned. Burlingham-Boutet acknowledged that he had sent the text
                 messages saying that he wanted to kill himself. He said that it had been a bad day
16               but didn't mean what he had sent. I asked him if he had ever made suicidal
                 statements previously and he said no. He also stated that he used to go the Youth
17               Eastside Services for counseling and that he should probably go back for
                 counseling due to his “seasonal affective disorder”.
18
                 Burlingham-Boutet stated that he was depressed, suffered from anxiety, had anger
19               management issues for which he had previous counseling for. He had just recently
                 smoked marijuana prior to our arrival at the house and there was information from
20               his ex-girlfriend that he may have access to a firearm in the house. When asked if
                 he had a plan on how he wanted to kill himself he said that he did not have a plan.
21
                 Based on this information I believed Burlingham-Boutet was a danger to himself
22               and needed be placed into protective custody.
23
                 4.20    Quentin backed up in a panic and, with his hands up, screamed that they didn’t
24
     have a warrant and could not come in. Officers Garner, Elliott, and Wyche did not step back or
25
     explain why they were entering the home. Instead they repeated to Quentin that they were taking
26
     him to the hospital and pursued him inside. Officers Elliott Garner grabbed Quentin, ultimately
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 1   tackling him on an armchair. Officers Michael Brown, Daniel Perrine, and S White who had

 2   also been dispatched to the home, also entered without a warrant, and joined the other officers

 3   physically restraining Quentin.

 4               4.21    Defendants did not have probable cause to seize Quentin under Washington’s

 5   involuntary treatment statute, RCW 71.05, or otherwise.

 6               4.22    Defendants did not have probable cause to believe that Quentin was engaged in

 7   criminal activity of any kind.

 8               4.23    There were no exigent circumstances that justified Defendants’ warrantless entry

 9   into Plaintiff’s home, either in the officers’ community caretaking function or otherwise.

10               4.24    The officers pushed Quentin into the armchair and attempted to physically

11   restrain him. Quentin began to panic and screamed that he hadn’t done anything wrong and that

12   the officers had no right to be in the home without a warrant. He told the officers to get off him

13   and that he was on the autism spectrum. He also screamed for his mother (Kellie Burlingham)

14   and stepfather (Marc Ramsey).

15               4.25    The loud commotion in the living room woke up Kellie and Marc who were

16   asleep in their bedroom that adjoins the living room. Kellie and Marc emerged from the

17   bedroom and saw several officers forcibly restraining Quentin on an armchair in the living room.

18               4.26    As Kellie walked out of the bedroom, Officer Wyche told Kellie to “get back”

19   and pushed her back behind a recliner and coffee table separating Kellie from the armchair

20   where the officers had detained Quentin. Another officer told Kellie that they were taking

21   Quentin to the hospital because of a 9-1-1 caller who said Quentin had sent suicidal text

22   messages. Kellie replied that that Quentin was not suicidal, that he had an anxiety attack earlier

23   but had since recovered, and that the officers should know Quentin had recovered because they

24   called and talked to him on the phone earlier.

25               4.27    Kellie continued to plead with the officers to release Quentin and leave their

26   home. She explained that Quentin was on the autism spectrum and that they were making the

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 1   situation worse by hurting him. The officers ignored her pleas, disregarded the information

 2   about Quentin’s condition, and refused to leave Kellie’s home.

 3               4.28    Though Kellie remained in the area where Officer Wyche had initially corralled

 4   her, Officer Wyche continued yelling at Kellie to “Get back!” Officer Wyche repeatedly pushed

 5   Kellie backwards by placing his hands on her chest and arms. Kellie did not move forward, or

 6   otherwise attempt to get closer to her son. But she continued to tell the officers that they were

 7   hurting her son and making the situation worse.

 8               4.29    When Kellie’s attempts to reason with the officers went unanswered, she told the

 9   officers she was going to record them. She went into her bedroom and retrieved her cellphone to

10   begin videoing the officers’ mistreatment of her son.

11               4.30    Kellie returned to the area behind the recliner and coffee table. As she tapped her

12   cellphone screen to turn on the video, Officer Aaron Scott leapt over the recliner, grabbed

13   Kellie’s right arm and tried to take her phone away. Kellie kept hold of her cellphone, told

14   Officer Scott to stop grabbing her arm and explained that her son Quentin was on the autism

15   spectrum and should not be treated this way.

16               4.31    Officer Scott twisted Kellie’s left arm behind her back, kept grabbing at the

17   cellphone in her right arm, and threatened to arrest her for obstruction. Kellie refused to let go of

18   her phone and Officer Scott said “that’s it, I’m charging you with obstruction.” Officer Scott

19   managed to grab Kellie’s phone, assisted by Officer Wyche, and threw it towards the kitchen

20   floor, just a few feet away from the living room.

21               4.32    Marc, too, went to retrieve his cellphone so he could record the officers’

22   mistreatment of Quentin. Officer Elliott followed Marc into the bedroom and yelled “stop.”

23   Marc stopped immediately and complied with Officer Elliott’s instruction and replied that he

24   was “just trying to get his cellphone” so he could video the officers’ mistreating Quentin. Officer

25   Elliott then grabbed Marc’s upper arms and forced them behind his back. Officer Brown ran into

26   the bedroom and grabbed Marc’s right arm while Officer Elliott took hold of Marc’s left arm and

27


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 1   put Marc in handcuffs. Officer Perrine entered the bedroom and detained Marc as the other

 2   officers returned to the living room.

 3               4.33    Meanwhile, Officers Scott and Wyche each held one of Kellie’s arms and shoved

 4   her towards the side of the refrigerator, which was adjacent to the living room in the open floor

 5   plan. When Kellie shifted her weight to avoid hitting the side of the refrigerator, the officers

 6   threw her down on the kitchen floor where she landed on her knees first and then down on the

 7   left side of her head. Officer Scott then pushed Kellie down onto her stomach in front of the

 8   kitchen’s butcher block cabinet, causing her to hit her head on the floor. Kellie cried out in pain,

 9   but the officers pushed her headfirst into the stove drawer.

10               4.34    The officers then handcuffed Kellie and used their body weight to push her

11   against the floor, making it difficult for her to breathe. Kellie panicked and cried out that she

12   couldn’t breathe. Finally, the officers jerked her up into a standing position, still keeping her

13   physically restrained.

14               4.35    Just as Officers Wyche and Scott pulled Kellie upright, Officers Brown and

15   Garner dragged Quentin by the handcuffs outside to the patrol cars. Kellie tried to assure her son

16   that everything would be ok. One of the officers told Kellie they were taking Quentin to

17   Overlake Hospital whether Quentin wanted to go or not. Kellie then told the officers that this

18   was not the correct way to treat someone on the autism spectrum.

19               4.36    Kellie continued to explain to the officers remaining in the home that her son was

20   on the autism spectrum and taking him to the hospital was not the way to help him. Officer Scott

21   told Kellie she was under arrest and began reciting the Miranda Rights.

22               4.37    Officers Scott and Wyche kept hold of Kellie, who was already handcuffed, while

23   Officer Perrine kept Marc, also already handcuffed, detained in their bedroom. Other Bellevue

24   Police Department officers walked throughout the home.

25               4.38    The officers’ supervisor, Sergeant Ramos, arrived at the home and spoke with

26   Officers Scott and Wyche outside. Sergeant Ramos came back inside the home and asked Kellie

27   if she understood what happened and why the officers were at her home. Kellie said she did not


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 1   understand at all because when the officers initially spoke with Quentin, he was calm and

 2   obviously not suicidal.

 3               4.39    After Sergeant Ramos spoke with Kellie, other officers removed Kellie and

 4   Marc’s handcuffs and left the home.

 5               4.40    Defendants took Quentin involuntarily to Overlake Hospital where he was

 6   examined by a nurse and psychiatrist. These medical professionals determined that there was no

 7   reason to hold Quentin and he was released from “protective custody” at approximately 3:00 am.

 8               4.41    On December 6, 2017 Kellie was charged with Obstructing a Law Enforcement

 9   Officer. Kellie expended money to hire an attorney to defend this charge, referred to the

10   Bellevue City Prosecutor by Deputy Scott. Six months later, the charge was dismissed.

11               4.42    Officers Scott and Wyche caused Kellie Burlingham physical injury and pain,

12   extreme emotional distress and mental harm as a result of the unconstitutional conduct.

13               4.43    Officers Scott and Wyche seized Kellie when they manhandled, handcuffed, and

14   arrested her.

15               4.44    At no point did Kellie pose a threat to the safety of Defendants. Kellie did not

16   make any verbal threats and was not physically violent.

17               4.45    At no point did Kellie act in an unlawful manner.

18               4.46    Officer Scott interfered with Kellie’s right to free speech when he retaliated

19   against her for rightfully exercising her right to record officers in the performance of their

20   official duties.

21               4.47    Officer Scott interfered with Kellie’s right to free speech when he retaliated

22   against her and punished her for criticizing the Defendants.

23               4.48    Officers Scott and Wyche violated Kellie’s clearly established constitutional

24   rights when they arrested and subdued her, in violation of the First and Fourth Amendments.

25               4.33    Defendants had a duty of care in investigating Quentin’s purported need for

26   mental health treatment and basis for subjecting him to an involuntarily evaluation. Defendants

27   recklessly and unreasonably breached that duty by entering Ms. Burlingham’s home,


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 1   handcuffing and detaining Quentin, and taking him into protective custody, despite explanations

 2   from both Quentin and Kellie that such measures would be counterproductive to Quentin’s

 3   mental health.

 4               4.49    As a proximate result of Defendants’ wrongful actions against Quentin, Kellie

 5   suffered outrage, anxiety, trauma, injury, and severe emotional distress.

 6               4.50    Defendant Officers’ actions were negligent, reckless, outrageous, and deliberately

 7   indifferent to Kellie’s rights.

 8               4.51    Plaintiff Kellie Burlingham is entitled to special and general damages caused by

 9   Defendants.

10               4.52    At the time of the events in this case, Bellevue Police Department policy

11   authorized officers to involuntarily detain a person who, in the officer’s view, presented a

12   “danger to self” by making “[t]hreats or attempts to commit suicide or harm one’s self.” If, in the

13   officer’s view, the incident required “immediate action,” the officer could seize the person

14   without first consulting a mental health professional. BPD’s policy imposes no other conditions

15   on an officer’s authority to seize a person.

16               4.53    Officer Garner and Defendant officers acted pursuant to Bellevue Police

17   Department’s involuntary detention policy when they entered the Burlingham home without a

18   warrant to seize Quentin. Officer Garner wrote in his case report that he believed Quentin “was a

19   danger to himself and needed to be placed into protective custody.”

20               4.54    Only extraordinary circumstances can justify the entry into a person’s home

21   without a warrant. Bellevue Police Department’s policy authorized the warrantless entry into a

22   person’s home for the purpose of conducting a seizure in situations that did not justify entry.

23               4.55    Bellevue Police Department policies, practices, and customs as of October 25,

24   2017 caused the constitutional violations. At all times relevant, the officers acted pursuant to the

25   policies, practices, and customs of the Bellevue Police Department.

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     AMENDED COMPLAINT FOR DAMAGES - 12                                          MACDONALD HOAGUE & BAYLESS
     No. 2:20-cv-00586-JCC                                                         705 Second Avenue, Suite 1500
                                                                                      Seattle, Washington 98104
                                                                                 Tel 206.622.1604 Fax 206.343.3961
     11564.01 mf200101
                   Case 2:20-cv-00586-JCC Document 34 Filed 12/28/20 Page 13 of 14



 1                                                 V.     CLAIMS

 2                           (Federal Civil Rights Violations Under 42 U.S.C. § 1983)

 3               5.1     By their acts and omissions described above, the individual Defendants are liable

 4   for compensatory and punitive damages for deprivation of Kellie Burlingham’s Fourth

 5   Amendment right to be free from unreasonable seizures, including by use of excessive force,

 6   warrantless entry into her home, and arrest and detention without probable or legal cause.

 7               5.2     By their acts and omissions described above, individual Defendants are liable for

 8   compensatory and punitive damages for deprivation of Kellie Burlingham’s First Amendment

 9   rights, including to voice criticism of the police, to record Defendants in the performance of their

10   official duties, and to be free from retaliation for engaging in protected activities.

11               5.3     By virtue of the facts set forth above, Defendant City of Bellevue is liable for

12   compensatory damages for deprivation of Kellie Burlingham’s rights under the Fourth

13   Amendment to the Constitution of the United States and 42 U.S.C. §1983, namely the right to be

14   free from unreasonable police entry into her home.

15                                        VI.     PRAYER FOR RELIEF

16                       WHEREFORE, Plaintiffs request relief as follows:

17               6.1     A declaration that Defendants violated Plaintiff’s civil rights;

18               6.2     Damages for physical harm and pain and suffering;

19               6.3     Damages for emotional distress and harm;

20               6.4     Damages for past and future medical care;

21               6.5     Damages for lost wages;

22               6.6     Punitive damages against the individual Defendants;

23               6.7     Pre-judgment and post-judgment interest on any amounts awarded;

24               6.8     Attorneys’ fees and costs pursuant to 42 U.S.C. § 1988 and other applicable law;

25               6.9     Other declaratory and injunctive relief as the Court deems just and equitable;

26               6.10    The right to conform the pleadings to the evidence presented.

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 2               DATED this 23rd day of October, 2020.

 3
                                                         MacDONALD HOAGUE & BAYLESS
 4

 5

 6

 7

 8                                                       By: _________________________________
 9                                                           Joe Shaeffer, WSBA #33273
                                                             joe@mhb.com
10

11
                                                            _/s/ Mika Rothman__________________
12                                                          Mika Rothman, WSBA # 55870
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14                                                          Seattle, WA 98104
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     AMENDED COMPLAINT FOR DAMAGES - 14                                 MACDONALD HOAGUE & BAYLESS
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